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 1    to protect yourself from any chemical spray at some point?

 2    A      I did.    I found a mask on the ground, and once I was on

 3    the ground, I held it against my mouth to protect any of

 4    the -- you know, the chemicals coming.           I have a heart

 5    condition, and I need to, you know, protect myself from

 6    elevated heart rates, and I wanted to just, you know, protect

 7    myself by holding this mask against my mouth.

 8    Q      Okay.    Were you -- were you pulled away from that group

 9    on the ground at some point?

10    A      I was.    So after I was pepper sprayed, I couldn't see who

11    or how many, but a group of officers grabbed me by my cuffs

12    and shoulders, neck somehow, and drug me across the concrete

13    on my forehead, my shoulder, and my knee.           They ripped through

14    my clothes and bloodied me up pretty good.

15    Q      Okay.    And what were you doing to resist?

16    A      I wasn't.    I was just laying on the ground.         I couldn't

17    see.    So there was nothing I really could do to resist even if

18    I had wanted to.

19    Q      Speaking of zip ties, were those put on you before or

20    after you were sprayed in the face?

21    A      They -- so once -- once I was on the ground and the

22    pepper spray hit me in the eyes, then they -- excuse me --

23    then they took the cuffs, and they -- they didn't just put

24    them on me.      They cinched them down as tight as they could.

25    Q      Okay.    And is that -- based on your experience and



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 1    training, is that the right way to use those?

 2    A     No, that is not.      That is not a standard protocol for --

 3    Q     What would be standard protocol for how to use the zip

 4    ties?

 5    A     So you would use those in a large loop in a way that the

 6    person did not have their circulation cut off, especially as I

 7    was not resisting and not any sort of threat.            Yeah, it was

 8    definitely excessive force.

 9    Q     Is there ever a time, based on your training, that you

10    would use -- that you would tighten it like that?

11    A     Yeah.    It's reminiscent of counterterrorism tactics.           You

12    would use that if you were concerned that the individual that

13    you were detaining was capable of harming yourself or a large

14    group of people.

15    Q     Did you -- were you hit in the head at all?           Your --

16    your -- if your wife -- your wife testified to seeing you hit

17    in the head.     When did that happen?

18    A     That was after I was placed in cuffs and when I was drug

19    across.    I couldn't see, obviously, but there was some sort of

20    implement used, and once I was drug, my head was re-slammed

21    down into the concrete, and I believe it was a police officer

22    using his knee or his body in some way to like hold me down as

23    they were doing this.

24    Q     Okay.    Did any police officers say anything to you during

25    this?



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 1    A     Yes.    A police officer, in a laughing tone, said, "Do you

 2    like that, cocksucker?       We'll see you again tomorrow night."

 3    Q     Did any of this that happened to you hurt?

 4    A     Yeah.    The pepper spray was incredibly painful.          I've --

 5    you know, I've had a lot of surgeries due to the heart issue,

 6    and this is -- was definitely one of the more painful

 7    experiences I've ever had.

 8    Q     Were you able to clean it off pretty quickly?

 9    A     I wasn't.    The members of my cell -- we kind of took

10    turns.    Since I was bleeding quite a bit and I had all the

11    pepper spray in my eyes, they kind of rallied behind me and

12    helped me.     They used like a rag to like rinse it off in the

13    little sink in the cell to help try and get the blood and

14    pepper spray out of my eyes.

15    Q     Did you -- was there any effect from the cuffing on your

16    hands?

17    A     Yeah.    I currently do not have full feeling back, and I'm

18    in physical therapy right now because there is some concern

19    about gaining full mobility back in my hand.

20    Q     Do you -- were you looking to be arrested that night?

21    Was that part of your goal?

22    A     No.    So due to the fact that, you know, I have a Top

23    Secret/SCI clearance, it's very important for me to -- you

24    know, to never be arrested, and you know, this is something --

25    I've never been arrested before.         I've only ever, you know,



                     Ex. 2 - Pls.' Resp to Mtn for Deposition Protective Order
